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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

ADDE ISSAGHOLI, an

individual;

Plaintiff,
Case No.
vs.
(KKx)
MCLAREN AUTOMOTIVE, INC., a
Delaware Corporation; and
DOES 1 through 20,

inclusive;

Defendants.

eee ee ee ee ee ee

NONAPPEARANCE OF CHRISTINEH ESTEPANIAN

Zoom Virtual Meeting Room

Friday, September 11, 2020

Reported by:

Lynda L. Fenn, CSR, RPR
CSR No. 12566

JOB No. 4247387

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1 UNITED STATES DISTRICT COURT
2 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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4
5 ADDE ISSAGHOLI, an )
individual; )
6 )
Plaintiff, )
7 ) Case No.
vs. ) 2:19-cv-07616-MWF
8 ) (KKx)
MCLAREN AUTOMOTIVE, INC., a )
9 Delaware Corporation; and )
DOES 1 through 20, )
10 inclusive; )
)
11 Defendants. )
)
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15 NONAPPEARANCE of CHRISTINEH ESTEPANTAN, of
16 a Zoom Virtual Meeting Room, at 10:00 a.m., on
17 Friday, September 11, 2020, reported by
18 Lynda L. Fenn, CSR No. 12566, Certified
19 Shorthand Reporter within and for the State of
20 California, pursuant to notice.
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APPEARANCES:

For the Plaintiff:
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lisa.gibson@nelsonmullins.com
shawtina.lewis@nelsonmullins.com

Also Connected:

Grant Cihlar, Videographer

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NUMBER

Exhibit 1

Exhibit 2

INDE X
EX HITBdITS
DESCRIPTION
A five-page document entitled
Subpoena to Testify at a
Deposition in a Civil Action
A five-page document entitled

Subpoena to Testify ata

Deposition in a Civil Action

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Zoom Virtual Meeting Room
Friday, September 11, 2020

10:00 a.m.

I, Lynda L. Fenn, CSR No. 12566, declare I can
truthfully testify as to the contents of this
declaration based on my own personal knowledge.

IT am a Certified Shorthand Reporter licensed in the
State of California.

I was required to appear for a Zoom Virtual Meeting
Room, at 10:00 a.m., on Friday, September 11, 2020, for
the purpose of taking the deposition of Christineh
Estepanian, at which time the deponent did not appear
for the taking of the scheduled deposition.

Counsel, the videographer and myself
personally waited until 10:15 a.m. for the appearance of
the deponent. After waiting for the deponent to appear,
counsel made the following statement on the record:

MS. GIBSON: Okay. Thank you. We're on the
record. I'm appearing, this is Lisa Gibson for the
defendant, McLaren Automotive, Inc. -- I'm appearing on
behalf of the defendant in the matter of Adde Issagholi,

plaintiff, versus McLaren Automotive, Inc., defendant.

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1 I'm appearing on behalf of the defendant.

2 We had subpoenaed the witness Christineh

3 Estepanian and that's spelled C-h-r-i-s-t-i-n-e-h,

4 E-s-t-e-p-a-n-i-a-n.

5 And we had originally subpoenaed

6 Ms. Estepanian with the notice of deposition dated to
7 appear on August 31st, 2020. We subsequently amended

8 for today's appearance of September 11th, 2020, at 10:00
9 a.m.
10 And I would like the court reporter to please
11 mark the two subpoenas as Exhibit No. 1 and Exhibit

12 No. 2, respectively.

13 The first subpoena being Exhibit No. 1, the
14 original one, and the amended one being Exhibit No. 2.
15 (Defendant's Exhibit 1 & 2 were marked for

16 identification by the Certified Shorthand Reporter and

17 are attached hereto.)

18 MR. GIBSON: I would also like to note for the
19 record that the second amended subpoena was served on

20 the agent for process of Ms. Estepanian's company that
21 she's a 50 percent shareholder in and we verified with
22 that agent process that he had sent her a copy by email
23 of today's notice of deposition.

24 I then ask you, Madam Court Reporter, to

25 please prepare your standard certificate of

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1 nonappearance.

2 THE COURT REPORTER: Mr. Ruben, would you like
3 to state your appearance?

4 MR. RUBEN: Yeah, this is David Ruben. I'm

5 appearing on behalf of the plaintiff, Adde Issagholi.

6 I don't have anything else to add.

7 THE COURT REPORTER: That's fine.

8 MR. RUBEN: I feel like I should.

9 THE COURT REPORTER: I just wanted to give you
10 credit for being here.

11 MR. RUBEN: = feel like I should have a gold
12 star.

13 THE COURT REPORTER: Is that it? Are we off
14 the record?

15 MS. GIBSON: I think so.

16 MR. RUBEN: That is it.

17 MS. GIBSON: Thank you, Madam Court Reporter.
18 THE COURT REPORTER: Okay.

19 (Whereupon, the proceedings ended at 10:23
20 a.m.)

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1 STATE OF CALIFORNIA )

Z ) ss.

3 COUNTY OF LOS ANGELES )

4 I, Lynda L. Fenn, Certified Shorthand

5 Reporter No. 12566 for the State of California, do

6 hereby certify:

7 That prior to being examined, the witness named in
8 the foregoing deposition was duly sworn to testify the
9 truth, the whole truth, and nothing but the truth;
10 That said deposition was taken down by me in
11 shorthand at the time and place therein named and

12 thereafter reduced by me to typewritten form and that

13 the same is a true, correct, and complete transcript of
14 said proceedings.

15 Before completion of the deposition, review of the
16 transcript [ ] was [ ] was not requested. If

17 requested, any changes made by the deponent (and
18 provided to the reporter) during the period allowed are

19 appended hereto.

 

20 I further certify that I am not interested in the
21 outcome of the action.

22. Witness my hand this 13th day of September, 2020.
23 Indl >

4 | FOI

25 Lynda L. Fenn, CSR, RPR

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[& - gibson]
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[give - united]

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[verified - zoom]

 

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